






Opinion issued January 4, 2007










In The

Court of Appeals

For the

First District of Texas

____________


NO. 01-06-01134-CV

____________


IN RE STACEY W. BRACKENS, Relator






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM OPINION	Relator Stacey W. Brackens filed a petition for a writ of mandamus
complaining of actions by respondents Department of Family and Protective Services
and the County of Galveston.

	A court of appeals or a justice of the court has jurisdiction to issue writs--other
than writs of mandamus against a district or county court judge--only when
necessary to enforce the jurisdiction of the appellate court.  Tex. Gov't Code Ann.
§ 22.221(a), (b) (Vernon 2004).  A court of appeals's jurisdiction under section
22.221(a) to issue writs is limited to cases in which the court has actual jurisdiction
of a pending proceeding.  Lesikar v. Anthony, 750 S.W.2d 338, 339 (Tex.
App.--Houston [1st Dist.] 1988, orig. proceeding).

	We have no actual jurisdiction over a pending proceeding in this case. 
Accordingly, we have no subject-matter jurisdiction over this mandamus petition.

	We dismiss for lack of jurisdiction the petition for a writ of mandamus.


PER CURIAM

Panel consists of Justices Nuchia, Jennings, and Higley.


